Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 95-00084-CR-LENARD

  UNITED STATES OF AMERICA

  vs.

  EVELYN CECILIA BOZON PAPPA,

              Defendant.
  __________________________________/

                   GOVERNMENT’S RESPONSE TO DEFENDANT
               BOZON PAPA’S MOTION FOR COMPASSIONATE RELEASE

         Defendant Evelyn Bozon Papa has filed a motion pursuant to the “Compassionate Release”

  provisions of 18 U.S.C. §3572(c)(1)(A), seeking a reduction of her life sentence to time served

  (approximately 26 years), which will result in her prompt return to Colombia. As grounds for

  relief, she relies on pre-existing health conditions that would place her at high risk if she were to

  become infected with COVID-19.

                                          Legal Standards

         The statute governing compassionate release, 18 U.S.C. §3582(c)(1)(A), clearly specifies

  that a sentence, once imposed, may only be subsequently modified under certain specified

  circumstances. To begin with, as relevant to the instant motion for compassionate release, a

  defendant must first petition the Bureau of Prisons (BOP) to file a motion on her behalf, and it

  must be declined by the BOP before she can file on her own. As shown by the letter from the

  Warden of her prison, the defendant has met this requirement.

         Substantively, the statute requires a finding by the court that there are “extraordinary and

  compelling circumstances” that warrant such a reduction, and providing that any such sentence

  reduction must be consistent with applicable policy statements of the Sentencing Commission.
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 2 of 7




         Those policy statements are contained in U.S.S.G. §2B1.13 and its Commentary. In

  defining “Extraordinary and Compelling Reasons,” the Application Notes to the guideline address

  terminal medical conditions and serious physical, medical, or functional conditions that

  “substantially diminishes the ability of the defendant to provide self-care within the environment

  of a correctional facility.” In other words, mere ill health and the possibility that an infection, if

  contracted, could have more severe results than are typical are not extraordinary or compelling.

         The defendant has not met the requirement of showing such circumstances. Some of the

  pre-existing conditions that she identifies as creating her above-average risk have been

  acknowledged by the United States as providing grounds for compassionate release: specifically,

  obesity, which in her case is quite serious, and hypertension. Under conditions of the current

  pandemic, a defendant suffering from such ailments may be deemed to have extraordinary and

  compelling reasons for release. This determination, which was made by the Attorney General in

  2020, was based on the facts that preventive measures against infection, including maintaining

  social distancing, mask-wearing, and careful sanitation were difficult in most prison environments,

  and that those pre-existing medical conditions could seriously elevate the risk of severe or fatal

  effects from a COVID-19 infection.

         In addition to those two specific risk factors, the defendant also lists a panoply of other

  health conditions that, to generalize her claims, in some studies have been shown in some cases to

  possibly increase some of the risks if a person becomes infected with COVID. Some of those

  factors are not even relevant by now – for example, she used to be a light smoker (½ pack a day),

  but she had to quit fourteen years ago, when her prison banned smoking.

         Her arguments about the elevated risks she faces based on these other factors would be

  speculative at most. However, the defendant’s entire argument about risk from COVID evaporates



                                                      2
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 3 of 7




  in light of the fact that she has been vaccinated against it. In response to this obvious issue, she

  can only argue that the vaccine “may not be effective” due to her obesity, and it “may not immunize

  against variant strains.”

         The defendant’s concerns are understandable but not well-founded. In a January 8, 2021

  report, the Chief Scientist for the World Health Organization, Dr. Soumya Swaninathan, was

  questioned about the United Kingdom and South African COVID variants, and noted that “at this

  point in time, most scientists believe that the vaccines that are currently in development and a

  couple that have been approved should provide protection against this variant and other variants

  because these vaccines elicit a fairly broad immune response, a host of antibodies and cell-

  mediated immune responses.” (www.who.int/emergencies/diseases/novel coronaviruses).

         The Wall Street Journal (wsj.com) reported on February 26, 2021, that “Pfizer and Moderna

  have conducted lab tests of their vaccines against several versions of the coronavirus and found

  that the vaccines were effective against all, according to the drug makers.” The article noted that

  the U.S. Centers for Disease Control concurs that mutations in the COVID virus will not

  significantly reduce vaccine effectiveness: “Based on studies with other viruses containing similar

  mutations, CDC believes there will be little or no impact on immunity from natural infection or

  vaccination.”

         Dr. Cato Varney, a doctor at the University of Virginia who specializes in obesity medicine,

  wrote an article for TheConversation.com on February 8, 2021, on the question of whether the

  COVID-19 vaccine would work well in patients with obesity. While explaining that there were

  reasons for concern about this issue, she concluded: “In short, the data released from Pfizer and

  the FDA show the vaccine is not only effective in participants as a whole, but in particular, patients

  with obesity.”



                                                      3
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 4 of 7




         In other words, the defendant has not shown that there are “extraordinary and compelling

  reasons” for her release. The defendant brought her pre-existing medical conditions to the

  attention of the Warden of her prison in requesting that he file a motion for compassionate release

  on her behalf. The Warden’s response is included in the attachments to the defendant’s motion.

  He responded that “although you have a chronic medical condition, you are able to independently

  attend to your daily living activities.” He thus concluded that “you have not demonstrated your

  request meets the minimum eligibility requirement for Compassionate Release/Reduction in

  Sentence.”

         The Government’s position is that the Warden was correct; the defendant simply has not

  shown any extraordinary or compelling reasons why her sentence should be reduced, as those

  reasons are defined by the applicable statutes and sentencing guidelines.

                                       Equitable Considerations

         Should the court nonetheless find that the defendant has shown extraordinary and

  compelling reasons for release, it must then determine two additional factors in her favor before it

  can reduce her sentence. First is that she “is not a danger to the safety of any other person or to

  the community” (U.S.S.G. §1B1.13(2)), and second, that a reduction in her sentence would be

  consistent with the sentencing factors in 18 U.S.C. §3553 (18 U.S.C. §3582(c)(1)(A)).

         Undersigned government counsel has reviewed the case in general, has reviewed the

  defendant’s Pre-Sentence Investigation Report, and has also conferred with former Assistant U.S.

  Attorney Paul Pelletier, who originally prosecuted the case for the United States. The position of

  the United States is that the defendant does not now pose any danger to others, and that a sentence

  reduction to time served would be consistent with the sentencing factors in 18 U.S.C. §3553.




                                                     4
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 5 of 7




         The defendant’s organization is not specifically alleged to have been involved in violence;

  any danger it posed would have been through the inherent dangers of dealing in cocaine and the

  damage it does to society. Her former husband, who was co-leader of the organization, was

  apparently violent toward the defendant, but there is no indication in the records available now

  that he was violent to others. In any event, he has been dead for a number of years, and the

  organization was dismantled long ago through prosecutions by the United States. There is thus no

  reason to believe that the defendant now poses any danger to others or to the community. The

  defendant’s commendable record of rehabilitation in the Bureau of Prisons reinforces this

  perception.

         The defendant was co-leader of a significant cocaine trafficking ring that regularly

  smuggled cocaine into the United States through airports over a period of time. The government

  notes, however, that she was not a “drug kingpin” or head of a major, vertically-integrated drug

  trafficking organization such as have sometimes been prosecuted in this District, led by defendants

  such as defendants Gilberto Rodriguez-Orjuela, Bernal Madrigal, and Hernan Prada. Such drug

  kingpins dealt in airplane- and freighter-loads of cocaine, smuggling tens of thousands of

  kilograms into the United States over years of massive trafficking. This defendant’s activities,

  although not quantified in total, were not nearly of that scale.

         Another factor has been recently learned that modifies the Government’s view of the

  defendant’s culpability (although it does not affect her Guideline level). The defendant was

  involved in the purported kidnapping of a 12 year old girl in the aftermath of the initial law

  enforcement actions against her organization. However, according to Mr. Pelletier, the girl was

  the defendant’s niece. Although her father (who was involved in the defendant’s drug trafficking)

  did not know where she was for four days, the girl herself believed she was on a vacation trip with



                                                      5
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 6 of 7




  her aunt and had no concerns about being with the defendant. Had the girl herself suffered the fear

  and anxiety that undoubtedly affected her father, the Government’s view would be more punitive.

         Because of the scope of the defendant’s criminal activity, including how it compares to

  even more serious offenders who have received sentences of less than life imprisonment, the

  United States believes that the defendant’s 26 years of imprisonment fully meets the criteria of 18

  U.S.C. §3553.

                                         Conclusion

         The defendant does not meet the legal criteria for compassionate release that are described

  in the statute and the sentencing guidelines. However, should the court conclude that she does

  meet those criteria, the equitable considerations would support the sentence reduction she seeks.

                                                         Respectfully submitted,

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                                                         UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 4, 2021, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.

                                                         /s/ Frank H. Tamen
                                                         Frank H. Tamen
                                                         Assistant United States Attorney



                                                     6
Case 1:95-cr-00084-JAL Document 471 Entered on FLSD Docket 03/04/2021 Page 7 of 7




                                         7
